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                                                           UNITED STATES BANKRUPTCY COURT
                                                             EASTERN DISTRICT OF VIRGINIA


                                                                            CHAPTER 13 PLAN
                                                                          AND RELATED MOTIONS

                                     Joseph A Nicotera
Name of Debtor(s):                   Carolyn M Nicotera                                         Case No: 19-33126

This plan, dated         July 25, 2019          , is:

                                 the first Chapter 13 plan filed in this case.
                                 a modified Plan, which replaces the
                                   confirmed or unconfirmed Plan dated                 .

                                 Date and Time of Modified Plan Confirmation Hearing:

                                 Place of Modified Plan Confirmation Hearing:


                       The Plan provisions modified by this filing are:


                       Creditors affected by this modification are:

1. Notices
To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this plan
carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court.
(1) Richmond and Alexandria Divisions:
The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
(2) Norfolk and Newport News Divisions: a confirmation hearing will be held even if no objections have been filed.
    (a) A scheduled confirmation hearing will not be convened when:
         (1) an amended plan is filed prior to the scheduled confirmation hearing; or
         (2) a consent resolution to an objection to confirmation anticipates the filing of an amended plan and the objecting
         party removes the scheduled confirmation hearing prior to 3:00 pm on the last business day before the confirmation
         hearing.
In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance.

Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.
A.        A limit on the amount of a secured claim, set out in Section 4.A which may                Included        Not included
          result in a partial payment or no payment at all to the secured creditor
B.        Avoidance of a judicial lien or nonpossessory, nonpurchase-money                         Included         Not included
          security interest, set out in Section 8.A
C.        Nonstandard provisions, set out in Part 12                                               Included         Not included




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2.          Funding of Plan. The debtor(s) propose to pay the Trustee the sum of $1,000.00 per month for 12 months, then $1,000.00
            per month for 12 months, then $1,000.00 per month for 12 months, then $1,000.00 per month for 12 months, then
            $29,243.00 per month for 12 months.
Other payments to the Trustee are as follows:
             The total amount to be paid into the Plan is $ 398,916.00 .
3.          Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.
            A.          Administrative Claims under 11 U.S.C. § 1326.
                        1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10% of all sums
                                     received under the plan.
                        2.           Check one box:
          Debtor(s)’ attorney has chosen to be compensated pursuant to the “no-look” fee under Local Bankruptcy Rule 2016-1(C)(1)(a)
         and (C)(3)(a) and will be paid $ 4,337.00 , balance due of the total fee of $ 5,296.00 concurrently with or prior to the
         payments to remaining creditors.
          Debtor(s)' attorney has chosen to be compensated pursuant to Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must submit
         applications for compensation as set forth in the Local Rules.
            B.          Claims under 11 U.S.C. § 507.
                        The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                        monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to
                        3.C below:
Creditor                                       Type of Priority                    Estimated Claim                    Payment and Term
Commonwealth of Virginia                       Taxes and certain other debts       800.00                             800.00 Month 53
                                                                                                                      1 months
IRS                                            Taxes and certain other debts       135.00                             135.00 Month 53
                                                                                                                      1 months
            C.          Claims under 11 U.S.C. § 507(a)(1).
                        The following priority creditors will be paid prior to other priority creditors but concurrently with administrative
                        claims above.
Creditor                                       Type of Priority                    Estimated Claim                    Payment and Term
-NONE-


4.    Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being Surrendered, Adequate Protection
Payments, and Payment of certain Secured Claims.
                        A.      Motions to Value Collateral (other than claims protected from “cramdown” by 11 U.S.C. §
                        1322(b)(2) or by the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the
                        Court, the Court may grant the debtor(s)’ motion to value collateral as set forth herein.
            This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
            “cramdown” by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)’ principal residence] or by the final paragraph of 11
            U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
            bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
            treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
            interest as provided in sub-section D of this section. You must refer to section 4(D) below to determine the interest
            rate, monthly payment and estimated term of repayment of any “crammed down” loan. The deficiency balance owed
            on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 5 of the Plan.
            The following secured claims are to be “crammed down” to the following values:

Creditor                                  Collateral                        Purchase Date            Est. Debt Bal.            Replacement Value
Don Southern                              Judgment                          2017                     8,613.00                  0.00

IRS                                       1415 Heatherstone Drive           2016                     28,294.32                 59,687.00
                                          Fredericksburg, VA 22407
                                          Spotsylvania County

                                                                                Page 2

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Creditor                                  Collateral                        Purchase Date              Est. Debt Bal.             Replacement Value
Shane A. Sims                             Judgment                          2019                       103,000.00                 0.00


            B.          Real or Personal Property to be Surrendered.
            Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
            claims of the following creditors in satisfaction of the secured portion of such creditors’ allowed claims. To the extent that
            the collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
            non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay under §§ 362(a) and 1301(a) as to
            the interest of the debtor(s), any co-debtor(s) and the estate in the collateral.
Creditor                                       Collateral Description                Estimated Value                    Estimated Total Claim
-NONE-
            C.          Adequate Protection Payments.
            The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
            secured by personal property, until the commencement of payments provided for in sections 4(D) and/or 7(B) of the Plan, as
            follows:
Creditor                                      Collateral                           Adeq. Protection Monthly Payment          To Be Paid By
-NONE-
            Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
            7(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
            order for relief).
            D.          Payment of Secured Claims on Property Being Retained (except those loans provided for in section 6 of the
                        Plan):
            This section deals with payment of debts secured by real and/or personal property [including short term obligations,
            judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
            allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral’s
            replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
            the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
            Plan, the valuation specified in sub-section A and interest rate shown below will be binding unless a timely written
            objection to confirmation is filed with and sustained by the Court.
Creditor                                  Collateral                            Approx. Bal. of Debt or       Interest Rate     Monthly Payment &
                                                                                "Crammed Down" Value                            Est. Term
Don Southern                              Judgment                              8,613.00                      6%                166.51 Mos 1-60
                                                                                                                                60months
IRS                                       1415 Heatherstone Drive               28,294.32                     6%                547.01 Mos 1-60
                                          Fredericksburg, VA 22407                                                              60months
                                          Spotsylvania County
Shane A. Sims                             Judgment                              103,000.00                    0%                116.22 Month 24
                                                                                                                                156.45 Mos 25-48
                                                                                                                                21,481.91      Mos
                                                                                                                                49-52
                                                                                                                                13,201.35
                                                                                                                                        Month 53
                                                                                                                                30months
            E.          Other Debts.
            Debts which are (i) mortgage loans secured by real estate which is the debtor(s)’ principal residence, or (ii) other long term
            obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
            payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.
5.          Unsecured Claims.
            A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                        remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                        approximately 100 %. The dividend percentage may vary depending on actual claims filed. If this case were
                        liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                        approximately 100 %.
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          B.          Separately classified unsecured claims.
Creditor                                           Basis for Classification                              Treatment
-NONE-
6.       Mortgage Loans Secured by Real Property Constituting the Debtor(s)’ Principal Residence; Other Long Term
Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any existing
default under 11 U.S.C. § 1322(b)(5).
                      A.        Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors
                      listed below will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if
                      any, will be paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated
                      below, without interest unless an interest rate is designated below for interest to be paid on the arrearage claim and
                      such interest is provided for in the loan agreement. A default on the regular contract payments on the debtor(s)
                      principal residence is a default under the terms of the plan.
Creditor                                Collateral                       Regular           Estimated     Arrearage     Estimated Cure       Monthly
                                                                         Contract          Arrearage     Interest Rate Period               Arrearage
                                                                         Payment                                                            Payment
PENTAGON FEDERAL CR                     1415 Heatherstone                0.00              2,980.00      0%              30months                   Prorata
UN                                      Drive
                                        Fredericksburg, VA
                                        22407 Spotsylvania
                                        County
PENTAGON FEDERAL CR                     11708 Eisenhower                 0.00              9,262.00      0%              30months                   Prorata
UN                                      Lane
                                        Fredericksburg, VA
                                        22401 Spotsylvania
                                        County
US BANK HOME                            7671 Otterspool                  0.00              0.00          0%              0months
MORTGAGE                                Street Kissimmee,
                                        FL 34747 Osceola
                                        County
VAPRTBK                                 1415 Heatherstone                0.00              7,528.00      0%              30months                   Prorata
                                        Drive
                                        Fredericksburg, VA
                                        22407 Spotsylvania
                                        County
          B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                      regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                      debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                      below.
Creditor                            Collateral                              Regular Contract      Estimated         Interest Rate Monthly Payment on
                                                                            Payment               Arrearage         on            Arrearage & Est. Term
                                                                                                                    Arrearage
-NONE-


          C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                      constituting the debtor(s)’ principal residence upon which the last scheduled contract payment is due before the final
                      payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                      1322(c)(2) with interest at the rate specified below as follows:
Creditor                                    Collateral                              Interest Rate Estimated Claim           Monthly Payment & Term
-NONE-


7.       Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts,
leases and/or timeshare agreements listed below.
                      A.       Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory
                      contracts:
Creditor                                             Type of Contract
                                                                                      Page 4

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Creditor                                               Type of Contract
-NONE-

            B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                        contracts. The debtor(s) agree to abide by all terms of the agreement. The Trustee will pay the pre-petition
                        arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                        indicated below.

Creditor                                      Type of Contract               Arrearage              Monthly Payment for Estimated Cure Period
                                                                                                    Arrears
-NONE-
8.          Liens Which Debtor(s) Seek to Avoid.
            A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)’ exemptions. Unless a
                        written objection is timely filed with the Court, the Court may grant the debtor(s)’ motion and cancel the
                        creditor’s lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                        hearing.
Creditor                                      Collateral                     Exemption Basis        Exemption Amount    Value of Collateral
-NONE-


            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate adversary proceedings to avoid the following liens or security interests. The creditor
                        should review the notice or summons accompanying such pleadings as to the requirements for opposing such
                        relief. The listing here is for information purposes only.
Creditor                                      Type of Lien                  Description of Collateral         Basis for Avoidance
-NONE-
9.          Treatment and Payment of Claims.
      •     All creditors must timely file a proof of claim to receive any payment from the Trustee.
      •     If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
            confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph
            does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the
            debtor(s) receive a discharge.
      •     If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor
            will be treated as unsecured for purposes of distribution under the Plan.
      •     The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
      •     If relief from the automatic stay is ordered as to any item of collateral listed in the plan, then, unless otherwise ordered by the
            court, all payments as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by
            the plan.
      •     Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of claim controls over any
            contrary amounts listed in the plan.
10.         Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not transfer, sell, refinance, encumber real property or enter into a mortgage
            loan modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.
11.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
            of $5,000 principal amount during the term of this Plan, whether unsecured or secured, except upon approval of the Court
            after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the
            Local Rules of this Court.
12.         Nonstandard Plan Provisions

                 None. If "None" is checked, the rest of Part 12 need not be completed or reproduced.

Dated:        July 25, 2019

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/s/ Joseph A Nicotera                                                                             /s/ Andrew S. Chen
Joseph A Nicotera                                                                                 Andrew S. Chen 79562
Debtor 1                                                                                          Debtors' Attorney

/s/ Carolyn M Nicotera
Carolyn M Nicotera
Debtor 2
          By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
          certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local
          Form Plan, other than any nonstandard provisions included in Part 12.
Exhibits:             Copy of Debtor(s)’ Budget (Schedules I and J); Matrix of Parties Served with Plan


                                                                         Certificate of Service
I certify that on      July 25, 2019          , I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
List.

                                                                                                  /s/ Andrew S. Chen
                                                                                                  Andrew S. Chen 79562
                                                                                                  Signature

                                                                                                  12934 Harbor Drive, Suite 107
                                                                                                  Woodbridge, VA 22192
                                                                                                  Address

                                                                                                  855-848-3011
                                                                                                  Telephone No.

                                                CERTIFICATE OF SERVICE PURSUANT TO RULE 7004
I hereby certify that on         July 25, 2019           true copies of the forgoing Chapter 13 Plan and Related Motions were served upon the
following creditor(s):
   by first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P.; or
   by certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

                                                                                                  /s/ Andrew S. Chen
                                                                                                  Andrew S. Chen 79562




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Fill in this information to identify your case:

Debtor 1                      Joseph A Nicotera

Debtor 2                      Carolyn M Nicotera
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               19-33126                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Self employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Joseph A Nicotera
Debtor 2   Carolyn M Nicotera                                                                    Case number (if known)    19-33126


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      11,416.84        $               0.00
     8b. Interest and dividends                                                           8b.        $           0.00        $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          11,416.84        $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              11,416.84 + $            0.00 = $          11,416.84
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $          11,416.84
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Income will increase due to increased contract activity and service offerings.




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Joseph A Nicotera                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                 Carolyn M Nicotera                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           19-33126
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  18                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,933.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                               0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           1,244.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Joseph A Nicotera
Debtor 2     Carolyn M Nicotera                                                                        Case number (if known)      19-33126

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                425.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,200.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                125.00
11.   Medical and dental expenses                                                            11. $                                                250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  120.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal property taxes on vehicles                                           16. $                                                  50.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               3,113.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Pet Care                                                            21. +$                                                50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       9,560.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       9,560.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              11,416.84
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              9,560.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,856.84

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




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                         AES/HSBC BANK USA
                         ATTN: BANKRUPTCY DEPT
                         PO BOX 2461
                         HARRISBURG, PA 17105


                         CAVALRY PORTFOLIO SERVICES
                         ATTN: BANKRUPTCY DEPARTMENT
                         500 SUMMIT LAKE STE 400
                         VALHALLA, NY 10595


                         Commonwealth of Virginia
                         Department of Taxation
                         PO Box 27407
                         Richmond, VA 23218


                         Courtney and Anthony Beavers
                         11708 Eisenhower Lane
                         Fredericksburg, VA 22407


                         Don Southern
                         C/O: Goodall, Pelt, Carper,PLC
                         1259 Courthouse Rd # 101
                         Stafford, VA 22554


                         FIRSTMARK/LOAN TO LEAR
                         45610 WOODLAND RD STE 37
                         STERLING, VA 20166


                         IRS
                         PO Box 7346
                         PHILADELPHIA, PA 19101


                         IRS
                         Department of the Treasury
                         Kansas City, MO 64999


                         Jennifer McGovern, Esq.
                         Parrish Snead Franklin
                         PO Box 7166
                         Fredericksburg, VA 22404


                         John Nere, Jr., P.C.
                         806 Princess Anne Street
                         Fredericksburg, VA 22401
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                     LENDINGCLUB
                     ATTN: BANKRUPTCY
                     71 STEVENSON ST, STE 1000
                     SAN FRANCISCO, CA 94105


                     MARY WASHINGTON HOSPITAL
                     12000 KENNEDY LANE
                     SUITE 100
                     FREDERICKSBURG, VA 22407


                     ONEMAIN FINANCIAL
                     ATTN: BANKRUPTCY
                     601 NW 2ND ST #300
                     EVANSVILLE, IN 47708


                     PENTAGON FEDERAL CR UN
                     POB 1432
                     ALEXANDRIA, VA 22313


                     PENTAGON FEDERAL CREDIT UNION
                     ATTN: BANKRUPTCY
                     PO BOX 1432
                     ALEXANDRIA, VA 22313


                     PMAB, LLC
                     PO BOX 12150
                     CHARLOTTE, NC 28220


                     Rafael Rivera
                     Saint Cloud, FL 34769



                     Shane A. Sims
                     C/O: Parish Snead Franklin,PLC
                     910 Princess Anne St., 2nd Flo
                     Fredericksburg, VA 22401


                     SOUTHWEST CREDIT SYSTEMS
                     4120 INTERNATIONAL PARKWAY
                     SUITE 1100
                     CARROLLTON, TX 75007


                     Spotsylvania Co. Circuit Court
                      9115 Courthouse Rd
                     Spotsylvania, VA 22553
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                     SPOTSYLVANIA COUNTY GDC
                     PO BOX 339
                     SPOTSYLVANIA, VA 22553


                     U.S. DEPARTMENT OF EDUCATION
                     ECMC/BANKRUPTCY
                     PO BOX 16408
                     SAINT PAUL, MN 55116


                     US BANK HOME MORTGAGE
                     ATTN: BANKRUPTCY
                     800 NICOLLET MALL
                     MINNEAPOLIS, MN 55402

                     USAA FEDERAL SAVINGS BANK
                     ATTN: BANKRUPTCY
                     10750 MCDERMOTT FREEWAY
                     SAN ANTONIO,, TX 78288


                     USAA FEDERAL SAVINGS BANK
                     ATTN: BANKRUPTCY
                     10750 MCDERMOTT FREEWAY
                     SAN ANTONIO, TX 78288


                     VAPRTBK
                     PO BOX 8029
                     FREDERICKSBURG, VA 22404


                     Velocity Investments LLC
                     P. O. Box 788
                     Belmar, NJ 07719
